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        Exhibit B
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                                                                                                          US010628820B2

     United States Patent                                                          ( 10 ) Patent No.: US 10,628,820 B2
     Wyatt                                                                         (45 ) Date of Patent:  * Apr. 21, 2020
(54 ) MULTI -FUNCTION ELECTRONIC PAYMENT                                                             20/346 (2013.01 ); G06Q 20/347 (2013.01) ;
      DEVICE                                                                                             G06Q 20/352 (2013.01 ); G06Q 20/385
                                                                                                                             (2013.01);
( 71) Applicant: Virtual Electric Inc., San Jose , CA                                                (Continued )
                    (US)                                                      (58 ) Field of Classification Search
(72 ) Inventor : David Wyatt, San Jose , CA (US)                                    CPC           G06K 17/0022 ; G06K 19/0719 ; GOOK
                                                                                                   19/07703 ; G06K 19/12 ; G06K 19/14 ;
                                                                                                                                            G06K 7/0008
(73 ) Assignee: Virtual Electric Inc., San Jose, CA                                     See application file for complete search history .
                    (US)
( * ) Notice :      Subject to any disclaimer, the term of this               (56 )                         References Cited
                    patent is extended or adjusted under 35                                        U.S. PATENT DOCUMENTS
                    U.S.C. 154 (b ) by 0 days.
                    This patent is subject to a terminal dis                          6,631,849 B2              10/2003 Blossom
                    claimer.                                                          6,641,050 B2              11/2003 Kelley et al.
                                                                                                                       (Continued )
( 21 ) Appl. No .: 16 /025,829                                                Primary Examiner Seung H Lee
 (22) Filed :       Jul. 2 , 2018                                             (57 )               ABSTRACT
(65)                  Prior Publication Data                                  An embodiment includes a multi- function electronic device
                                                                             capable of generating a programmed magnetic field of
      US 2019/0197520 A1            Jun . 27, 2019                           alternating polarity based on a speed of a card swipe, and
                                                                             methods for constructing the device for the purpose of
                Related U.S. Application Data                                emulating a standard credit card . An apparatus is described
                                                                              to allow the device to emulate behavior of a credit card when
(63) Continuation of application No. 15 /250,698 , filed on                  used in electronic credit card readers. Additionally methods
     Aug. 29 , 2016 , now Pat. No. 10,013,693, which is a                    are described to allow user control of the device for the
                       (Continued )                                          purpose of authorizing or controlling use of the device in the
(51) Int. Cl.                                                                application of credit , debit and cash transactions, including
      G06Q 20/34                 ( 2012.01 )                                 cryptocurrency and card -to -card transactions. Methods are
      GO7F 19/00                 ( 2006.01)                                  also described for generating a limited -duration credit card
                        (Continued )
                                                                             number when performing a transaction for the purpose of
                                                                             creating a limited -use credit card number , which is limited
(52) U.S. CI.                                                                in scope of use to a predetermined number of authorized
     CPC         G06Q 20/341 (2013.01); G06K 19/06206                        transactions . Furthermore the device may interact with other
              ( 2013.01) ; G06K 19/0716 ( 2013.01) ; GOOK                    similar devices in proximity for the purpose of funds or
            19/07749 (2013.01); G06Q 20/06 (2013.01 );                        credit/ debit transfers .
                    G      20/065 ( 2013.01); G06Q 20/223
                 ( 2013.01 ); G06Q 20/24 (2013.01); G06Q                                          20 Claims, 13 Drawing Sheets
                                       280



                                                                                                                282
                                               display a piurality of accounts stored by a memory comprised by
                                                                     & credit card device




                                                                                                                284
                                                  receive an indication of a selection of an account from the
                                                                     plurality of accounts


                                                                                                                286
                                                   configure the credit card device to perform a transaction
                                                 according to user data associated with the selected account


                                                                                                                 228
                                                 ancode a planar coil of the credit card device with a limited
                                                duration credit number associated with the selected account
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                                                  US 10,628,820 B2
                                                           Page 2

             Related U.S. Application Data                      (56 )                   References Cited
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(60 ) Provisional application No.61/794,891, filed on Mar.               7,793,851 B2 9/2010 Mullen
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(51) Int. Ci.                                                            8,768,838 B1 7/2014 Hoffman
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      G06K 19/06              ( 2006.01)                                 9,536,238 B2  1/2017 Garrett et al.
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      G06K 19/077                                                       10,013,693 B2 7/2018 Wyatt
                             ( 2006.01)                             2006/0032908 Al      2/2006 Sines
      G06Q 20/24             ( 2012.01)                             2008/0223937 A1
                                                                    2010/0260388 Al
                                                                                         9/2008 Preta et al.
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      GO6Q 20/40             ( 2012.01 )                            2011/0140841 Al      6/2011 Bona et al.
(52 ) U.S. Ci.                                                      2013/0048712 A1      2/2013 Guillaud et al.
                                                                    2013/0124292 A1      5/2013 Juthani
      CPC          G06Q 20/3827 (2013.01 ); G06Q 20/409             2014/0052632 A1      2/2014 Galloway
               ( 2013.01) ; G06Q 20/4012 ( 2013.01) ; G07F          2014/0279555 Al      9/2014 Guillaud
                  770873 ( 2013.01) ; G07F 19/00 (2013.01)          2018/0240106 Al      8/2018 Garrett et al .
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                                               101.

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                                        120




                                   FIG . 1
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                                                                                                                 230



                                                           Optical sensor array
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                                       O.                                                                              ?          225



                                                                                                                                  220
                                                                    207 Memory                          209
                                               COR 215
                                            Interface
       Motion 210
      Detection                                                              Processor
                                                                                            205
                                                   240
                                         Real- Time                                 Touch Sensor              Power
                                           Clock                                        Array                 Source
                                                                                                  245                  255
                                                                   Display                        250



          235                                                                                                               235

                                                           FIG . 2A
   2016
                                                                                                                 230


                                                           Optical sensor array
                                                                                                                                  225



                                                                                                                                  220


                                            Coil 215                         Memory                     209
                                         Interface                                                                NFC
                                                                                                                           260
          Motion 210
      Detection                                                              Processor
                                                                                                                  RFID
                                                                                                                      265
                                                          240
                270                      Real- Time                                                           Power
          US8                                                                       Touch Sensor
                                           Clock                                         Array 245            Source
                                                                                                                       255
                      Galvanic                                     Display                        250
                      sensor




                                 275
          235                                                                                                               235
                                                           FIG . 2B
   Case 7:24-cv-00279-ADA      Document 1-2         Filed 11/04/24     Page 6 of 28


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              display a plurality of accounts stored by a memory comprised by
                                     a credit card device




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                receive an indication of a selection of an account from the
                                     plurality of accounts


                                                                                286
                  configure the credit card device to perform a transaction
                according to user data associated with the selected account


                                                                                288
                encode a planar coil of the credit card device with a limited
                duration credit number associated with the selected account


                                        FIG . 20
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     300




                                  Is a standard magnetic card
                                    reader detected to be in
                                           proximity ?


                                                  YES

                                                                                 303
               Detect a movementrate atwhich the body of the credit card
              device is moving relative to the standard magnetic card reader


                                                                                 305
            Generate a magnetic field via an inductor assembly comprised by
             the credit card device , the magnetic field having a target rate of
              alternating polarity , wherein the targetrate of alternating polarity
                          is based on the detected movement rate




                                             FIG . 3
   Case 7:24-cv-00279-ADA   Document 1-2        Filed 11/04/24     Page 8 of 28


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                              FIG . 4A




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                              FIG . 4B
   Case 7:24-cv-00279-ADA        Document 1-2       Filed 11/04/24     Page 9 of 28


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                               FIG . 5

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                       Samen                                         6015


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                               FIG . 6
  Case 7:24-cv-00279-ADA       Document 1-2         Filed 11/04/24      Page 10 of 28


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    700



                                                                                701
                 receive an input signal at a credit card device from a user
              enabling operation of a near- field communication (NFC ) unit of
                                     the credit card device




                                                                                703
              receive an indication of an amount of currency for a transaction



                                                                                705
            generate , at the credit card device , an limited -duration credit card
                                           number




                                                                                707
              transniit the limited -duration credit card number from the credit
                         card device to a recipient of the transaction


                                          FIG . 7
            Case 7:24-cv-00279-ADA                                                                                         Document 1-2                                                        Filed 11/04/24                           Page 11 of 28


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                                          Case 7:24-cv-00279-ADA                                                                               Document 1-2                Filed 11/04/24                  Page 12 of 28


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       Case 7:24-cv-00279-ADA                                                                                 Document 1-2                                 Filed 11/04/24                                  Page 13 of 28


U.S. Patent                                                                      Apr. 21 , 2020                                    Sheet 10 of 13                                               US 10,628,820 B2




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                Case 7:24-cv-00279-ADA                                                                                                                    Document 1-2                                                        Filed 11/04/24                      Page 14 of 28


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  Case 7:24-cv-00279-ADA           Document 1-2       Filed 11/04/24      Page 15 of 28


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                      Card Device with no Fixed
                          Payment Information
                                                                       Smart Card Reader
                                                                       Contacts

Front View            Logo                                             Payment Icon
                                    Johnny Appleseed

   No Fixed Payment
       Numbers                                                          Magnetic strip
                                                                         Card reader
                                                                          compatible
Back View
                                                                      Optional NFC
    No Fixed Payment                                                      logo
         Numbers
                                                          >)))

    Smart Card reader facility : Static and              Magnetic strip reader facility :
     Dynamically -generated limited -use                    limited -use Information
                  numbers


                                                                 Edge /Side View
             Cryptographic Processor,
               Memory , Sequential
                    Counter Unit
                                                    Optional NFC reader
                                                          interface

                                              Fig 11
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   MULTI- FUNCTION ELECTRONIC PAYMENT                              in various ways , susceptible to theft and/or compromise .
                          DEVICE                                   Therefore , these types of credit cards have security limita
                                                           tions. Further , cards employing smart integrated circuit
                RELATED APPLICATIONS                       chips and RF technology are not in wide use at present
                                                         5 because they are incompatible with existing credit card
   This is a Continuation application of, commonly -owned infrastructure , which still predominantly supports conven
U.S. patent application Ser. No. 15 / 250,698 , now U.S. Pat. tional plastic credit cards.
No. 10,013,693, filed Aug. 29 , 2016 , which in turn was a                     SUMMARY OF THE INVENTION
continuation of U.S. patent application Ser. No. 14 /680,946 ,
now U.S. Pat. No. 9,430,765 entitled “MULTI-FUNC- 10
 TIONAL CREDIT CARD TYPE PORTABLE ELEC                                This Summary is provided to introduce a selection of
TRONIC DEVICE ," filed Apr. 7 , 2016 to inventor David concepts in a simplified form that are further described
Wyatt, which is itself a continuation of U.S. patent appli below in the Detailed Description . This Summary is not
cation Ser. No. 14 /217,261, now U.S. Pat. No. 9,022,286 , intended to identify key features or essential features of the
 similarly entitled “MULTI- FUNCTIONAL CREDIT CARD 15 claimed subject matter, nor is it intended to be used to limit
 TYPE PORTABLE ELECTRONIC DEVICE,” filed Mar. the scope of the claimed subject matter.
17 , 2014 by the same inventor David Wyatt, and claims the            An embodiment includes a multi-function electronic
benefit of U.S. Provisional Patent No. 61/794,891 entitled device capable of generating a programmed magnetic field
“Multi - Functional Credit Card Device,” filed Mar. 15 , 2013 of alternating polarity based on a speed of a card swipe, and
to inventor David Wyatt. The benefit of the earlier filing 20 methods for constructing the device for the purpose of
dates is hereby claimed and the contents of the earlier filed emulating a standard credit card . An apparatus is described
related applications are further incorporated by reference in to allow said device to emulate behavior of a credit card
their entirety .                                                   when used in electronic credit card readers . Additionally
                                                                   methods are described to allow user control of said device
                 FIELD OF THE INVENTION                         25 for the purpose of authorizing or controlling use of said
                                                                   device in the application of credit, debit and cash transac
    Embodiments according to the present disclosure gener          tions, including cryptocurrency and card -to -card transac
ally relate to electronic or smartmulti - function electronic tions. Methods are also described for generating a limited
devices and , more specifically , to more secure , smart multi duration credit card number when performing a transaction
 function electronic payment devices and transaction pro- 30 for the purpose of creating a limited -use credit card number,
cessing thereof.                                                   which is limited in scope of use to a predetermined number
                                                                   of authorized transactions . Furthermore said device may
          BACKGROUND OF THE INVENTION                              interact with other similar devices in proximity for the
                                                                   purpose of funds or credit/debit transfers.
    There are several different types of credit cards available 35 More specifically , an aspect of the present disclosure
 in the marketplace at present. A first type of credit card is a provides an apparatus comprising: a thin card shaped sized
conventional , standard piece of plastic with a magnetic strip , body ; a memory operative to store a plurality of identifica
which is readily available and in wide commercial use. The tion data ; a processor coupled to the memory ; a user
advantage of this first type of credit card is that a large interface for selecting a select identification data of said
portion of the infrastructure for credit card transactions is 40 plurality of identification data ; a magnetic card reader detec
built around this type of card , and consequently such a card tion unit for determining if the body is adjacent to a standard
works in a wide array of vendors' credit card machines, magnetic card reader ; and an inductor assembly coupled to
automated teller machines (ATMs), and other devices that the processor and integrated into the body, the inductor
support the present credit card and banking infrastructure . assembly under processor control for generating a magnetic
    Another type of credit card device employs the use of a 45 field of alternating polarity responsive to the body being
smart integrated circuit chip . These types of credit cards detected as adjacent to a standard magnetic card reader, the
have a built in microprocessor with cryptographic capabili magnetic field generated in a region substantially encom
ties . These microprocessors operate in a similar manner to a passing the standard magnetic card reader, wherein the
cell phone having a chip comprising a cryptographic pro magnetic field encodes said select identification data , and
cessor. Such a smart card device requires contact with a 50 wherein the magnetic field is operable to be read by a
reader in order to be read and to perform a transaction . The magnetic read head of the standard magnetic card reader.
reader provides the manner in which a facility interacts with         According to another aspect of the present disclosure , a
the built - in processor on the card , e.g., for purposes of multi-function electronic device comprises: a near-field
performing verification on the authenticity of the card or for communication (NFC ) unit ; a touch sensor array ; a display;
making a direct deposit on the card . These credit card 55 a motion rate detection array ; a memory, storing a user data
devices also comprise a magnetic strip such that they are and a currency amount; and a processor operatively coupled
compatible with standard plastic credit card readers in wide to the NFC unit , the touch sensor array, the display, the
use .                                                              motion rate detection array , and the memory ; and wherein
    A different type of credit card device in circulation the processor initiates a card -to -card transaction between
employs radio frequency identification (“ RFID ” ). These 60 two multi -function electronic devices by a detected prox
cards essentially have a low -power RF antenna built into the imity of a first multi- function electronic device and a second
card , and when the cardholder passes the antenna in front of multi- function electronic device and an input of information
a reader comprising an RF field , enough power is generated by a first user via said touch sensor array, and wherein the
to enable the processor to interact wirelessly with the card -to -card transaction comprises an exchange of stored
receiving device .                                              65 currency and said user data between the first multi-function
   A concern with each of these types of credit cards              electronic device and the second multi- function electronic
presently available in the marketplace is that they can all be ,   device via the NFC unit.
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                                3                                                                      4
   According to yet another aspect of the present disclosure ,                    DETAILED DESCRIPTION OF THE
a method of performing a transaction comprises: receiving                                  INVENTION
an input signal at a multi - function electronic device from a
user enabling operation of a near- field communication               Reference will now be made in detail to the various
(NFC ) unit of themulti-function electronic device ; receiving 5 embodiments of the present disclosure, examples ofwhich
an indication of an amount of currency for a transaction ; are illustrated in the accompanying drawings . While
generating at said multi-function electronic device a limited described in that conjunction with these embodiments , it will be
duration credit card number; and transmitting said limited understood              they are not intended to limit the disclosure
                                                                  to these embodiments . On the contrary , the disclosure is
duration credit card number from said multi- function elec
tronic device to a recipient of the transaction .              10 intended to cover alternatives, modifications and equiva
                                                                  lents, which may be included within the spirit and scope of
      BRIEF DESCRIPTION OF THE DRAWINGS                           the disclosure as defined by the appended claims. Further
                                                                  more , in the following detailed description of the present
   Embodiments of the present disclosure are illustrated by 15 disclosure
                                                                  provide  a
                                                                             , numerous specific details are set forth in order to
                                                                             thorough  understanding of the present disclosure .
way of example, and not by way of limitation , in the figures
of the accompanying drawings and in which like reference However, it will be understood that the present disclosure
                                                                      may be practiced without these specific details . In other
numerals refer to similar elements .                                  instances, well-known methods, procedures, components ,
   FIG . 1 is an illustration depicting an exemplary interac           and circuits have not been described in detail so as not to
tion between a multi-function electronic device and a stan- 20 unnecessarily
dard magnetic card reader , according to an embodiment of
                                                                             obscure aspects of the present disclosure.
                                                                 Some portions of the detailed descriptions which follow
the present disclosure .                                              are presented in terms of procedures, steps, logic blocks,
    FIGS. 2A -2B are block diagrams illustrating data flow processing, and other symbolic representations of operations
between the magnetic coils on the multi -function electronic on data bits that can be performed on computer memory .
device and the microprocessor on the multi - function elec- 25 These descriptions and representations are the means used
 tronic device according to an embodiment of the present by those skilled in the data processing arts to most effec
 disclosure .                                                         tively convey the substance of their work to others skilled in
    FIG . 2C depicts an exemplary process of selecting an the art . A procedure , computer generated step , logic block ,
account from a plurality of stored accounts according to an process, etc., is here , and generally, conceived to be a
embodiment of the present disclosure .                             30 self-consistent sequence of steps or instructions leading to a
                                                                      desired result . The steps are those requiring physical
   FIG . 3 is a flowchart illustrating an exemplary process of manipulations
 generating a magnetic field with an alternating polarity                              of physical quantities . Usually , though not
according to an embodiment of the present disclosure .                necessarily , these   quantities take the form of electrical or
                                                                      magnetic   signals  capable
   FIGS. 4A -4B illustrate a user interacting with a touch 35 bined , compared , and otherwise     of being stored , transferred , com
sensor of the multi -function electronic device , according to system . It has proven convenient           manipulated in a computer
an embodiment of the present disclosure.                                                                       at times, principally for
                                                                      reasons  of common      usage ,
    FIG . 5 is an illustration of a multi- function electronic values, elements , symbols, characters to refer  to these signals as bits,
device connected with a computing system and operating the like .                                                  , terms, numbers , or
according to an embodiment of the present disclosure . 40 It should be borne in mind, however, that all of these and
    FIG . 6 is an illustration of two multi- function electronic      similar terms are to be associated with the appropriate
devices performing a transaction according to an embodi physical quantities and are merely convenient labels applied
ment of the present disclosure .                                      to these quantities. Unless specifically stated otherwise as
    FIG . 7 depicts an exemplary process according to an apparent from the following discussions, it is appreciated
 embodiment of the present disclosure .                            45 that throughout the present claimed subject matter, discus
    FIG . 8A illustrates an exemplary multifunction electronic sions utilizing termssuch as “ storing,” “ creating ,” “ protect
device , in accordance with embodiments of the present ing," " receiving ," " encrypting ," " decrypting," " destroying ,"
 invention .                                                          or the like, refer to the action and processes of a computer
   FIG . 8B illustrates exemplary displayed characteristics of system or integrated circuit , or similar electronic computing
multifunction electronic device , in accordance with embodi- 50 device, including an embedded system , thatmanipulates and
ments of the present invention .                                      transforms data represented as physical ( electronic ) quanti
    FIG . 9 illustrates an exemplary process of performing a ties within the computer system's registers and memories
financial transaction with a portable electronic device in into other data similarly represented as physical quantities
conjunction with a payment reader, in accordance with within the computer system memories or registers or other
 embodiments of the present invention .                            55 such information storage , transmission or display devices .
    FIG . 10 illustrates an exemplary process for performing a Encoding Via an Alternating Polarity of a Magnetic Field
financial transaction with a portable electronic device in               In one embodiment of the present disclosure, a smart
 conjunction with a personal computer, in accordance with multi-function electronic device comprises a dynamic mag
embodiments of the present invention .                                netic region ( strip ) incorporating a main inductor assembly
    FIG . 11 illustrate an exemplary electronic credit -card -like 60 from which programmed magnetic field data symbols are
multi- function electronic device that has no fixed payment dynamically generated . In one embodiment the inductor
 information , in accordance with embodiments of the present assembly may be a planar coil formed within the material
invention .                                                           that embodies the multi - function electronic device . An
    FIG . 12 illustrates an exemplary process for user selection advantage of using a planar coil is that it can dynamically
of a preferred payment account for an electronic credit 65 produce a magnetic field in such a manner as to emulate the
 card -like device , in accordance with embodiments of the interaction between a traditional magnetic strip and a con
present invention .                                                   ventional credit card reader. As the magnetic strip of a
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conventional credit card is passed through a magnetic reader rality of accounts 209 , which may be credit card accounts,
head, stripes of alternating magnetic polarity embedded in banking accounts ,merchant accounts, online accounts, cryp
 the strip induce a magnetic field of alternating polarity at the tocurrency accounts, and combinations thereof. A motion
reader head . The pattern formed by the alternating polarity detection module 210 is coupled to the processor unit 205
of the magnetic field encodes information , which when 5 and to a set ofmotion detection units , which comprise a rate
 transformed by a transducer to a current signal in the detection assembly 225 , an optical sensor array 230 , and a
magnetic reader head , provides user information for a trans      set of accelerometers 235. The magnetic field is generated
action .                                                    via a planar coil 220, which is controlled by the processor
   Embodiments of the present disclosure provide a multi     unit 205 via a coil interface 215. The rate at which the
function electronic device able to generate a programmed 10 magnetic field changes polarity to encode the user data
magnetic field , wherein data is encoded and represented by depends on the rate of relative movement detected by the
an alternating polarity of the generated magnetic field . In a     rate detector. The multi -function electronic device 2010
similar manner to a conventional plastic credit card , the further comprises a real- time clock 240 , a touch -sensor array
magnetic field produced by the planar coil is able to be read 245 , and a display 250 , each operatively coupled to the
by a pickup (or “ transducer” ) and to thereby transmit 15 processor unit 205. A user input may be made via the touch
 information to the magnetic card reader. FIG . 1 illustrates a sensor array 245 , which may comprise a touch screen panel,
credit card transaction 100 performed between a multi a keypad , or a combination thereof. The display 250 is able
function electronic device 101 and a conventional magnetic to display an alphanumeric sequence , as well as graphical
reader 150. The multi -function electronic device 101 gen         icons ( such as a logo for a bank , or other images). See , for
erates a magnetic field of alternating polarity 120 to be read 20 example , FIGS. 8A and 11. Further, an optional backup
by the conventionalmagnetic card reader 150 , according to power source 255 is depicted .
an embodiment of the present disclosure. The multi - function       In one embodiment, the processor unit 205 is connected
electronic device 101 is moved at a rate 130 relative to a to the planar coil 220 and themotion detection units, via the
magnetic reader head 155 of conventional magnetic card motion detection module 210. The processor unit 205 is
 reader 150. The magnetic field 120 extends with sufficient 25 responsible for determining the appropriate rate with which
 distance and intensity from 101 so as to be read by magnetic to output data from the planar coil 220 , wherein output data
head reader 155. Themagnetic head reader 155 responds to is encoded using alternating polarity of a generated magnetic
the magnetic field 120 by producing a current in the con        field. The rate of the alternating polarity of the magnetic field
ventional fashion , which is then interpreted as encoded is generated in accordance with the detected movement
 information by the magnetic reader 150. Therefore the 30 speed with which the card is swiped through the reader, in
magnetic field of alternating polarity 120 produced by the order for the reader to receive the encoded data at the
multi -function electronic device 101 has a substantially appropriate rate.Magnetic card readers, which are designed
 identical encoding effect as a traditionalmagnetic strip .     to read conventional credit rds, are constructed to read
    A characteristic of encoding information in a conventional data at specified input rates that correspond with the data
magnetic card strip is that binary information is encoded by 35 density present in conventional magnetic card strips. The
the pattern of alternating magnetic polarity formed by fer magnetic data symbols generated by the planar coil 220 are
 romagnetic stripes embedded on the magnetic strip . As the produced to align with the rate at which data is being read
conventionalmagnetic card strip has a standardized format,        by the magnetic card reader. Accordingly , it is irrelevant if
the encoding of information is provided at a specified data       the multi - function electronic device 2010 of the present
density (bits per inch ), according to which conventional 40 disclosure is being swiped quickly or slowly, the planar coil
magnetic readers are designed for interpretation of encoded 220 is controlled by the processor unit 205 to produce data
data . In order to most ably emulate a conventional credit at a substantially optimized rate , where the rate of data
card interaction with a conventional magnetic reader the production is dependent on the rate at which the multi
multi-function electronic device 101 of the present disclo       function electronic device 201? is detected to be passing
 sure is provided with a means of determining a substantially 45 across the magnetic reader head .
optimal rate for alternating the polarity of the generated          FIG . 2B depicts a multi-function electronic device 2016
magnetic field 120 in order to produce data at a rate which according to an embodiment of the present disclosure .
 is able to be readily received and correctly interpreted by the Device 2016 comprises a processor 205 and a memory unit
conventional magnetic reader 150. Embodiments of the 207, the processor 205 operatively coupled to the compo
present disclosure provide several means of determining the 50 nents ofmulti - function electronic device 2016. The memory
relative movement rate 130 between the multi- function           207 comprises a plurality of accounts 209 , which may be
electronic device 101 and the magnetic reader head 155 . credit card accounts, banking accounts ,merchant accounts,
 These features , as well as other characteristics of the multi  online accounts, cryptocurrency accounts, and combinations
function electronic device of the present disclosure, can be thereof. A motion detection module 210 is coupled to the
better appreciated by a description of the internal compo- 55 processor unit 205 and to a set of motion detection units,
nents and functions ofmulti- function electronic device 101 .     which comprise a rate detection assembly 225 , an optical
  FIGS. 2A and 2B depict exemplary embodiments of a                sensor array 230 , and a set of accelerometers 235. Addition
smart multi -function electronic device, in a block diagram        ally , a galvanic sensor 275 is coupled to processor unit 205 .
view . The components of the block diagram are illustrated The magnetic field is generated via a planar coil 220 , which
according to functional connections, and their locations 60 is controlled by the processor unit 205 via a coil interface
should not be construed as being limited to the respective 215. The rate at which the magnetic field changes polarity to
locations as depicted in FIGS. 2A -2B . In FIG . 2A , multi encode the user data depends on the rate of relative move
function electronic device 201? is shown in a block diagram ment detected by the rate detector. The multi- function elec
view . Multi- function electronic device 2010 comprises a tronic device 2016 further comprises a real-time clock 240 ,
processor 205 and a memory unit 207 , the processor 205 65 a touch -sensor array 245, and a display 250 , each opera
operatively coupled to the components of multi-function tively coupled to the processor unit 205. A user input may be
 electronic device 201a . The memory 207 comprises a plu made via the touch sensor array 245 , which may comprise
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a touch screen panel, a keypad , or a combination thereof. location of a magnetic head reader as the rate detection
See also , for example, FIGS. 8 and 9. The display 250 is able assembly 220 is being passed through the credit card reader.
to display an alphanumeric sequence , as well as graphical The reader module of a conventional credit card reader
icons ( such as a logo for a bank , or other images). Further, comprises a metal head having a small gap at the tip of the
an optional backup power source 255 is depicted. Multi- 5 head . A pickup armature resides in this gap , such that as the
function electronic device 2016 further comprises a near metal head passes over a credit card strip , an electric field is
 field communication (NFC ) unit 260 , as well as a radio induced in the head reader pickup circuit . In one embodi
 frequency identification (RFID ) unit 265 , both of which are ment the rate detection assembly 225 is constructed of an
operatively coupled to the processor unit 205. In one array of auxiliary inductor coils and magnetic pickup coils .
embodiment the NFC and RFID may share the planar coil 10 As the metal head of the card reader assembly passes over
for use as a RF antennae, through the coil interface 215. In the arrangement of auxiliary inductor coils and magnetic
one embodiment one or both the NFC and the RFID may pickup coils of the rate detection assembly 225 , a distur
have antennae dedicated to that individual sub -system . A bance in the magnetic field flowing between the two is
universal serial bus (USB ) connector 270 is coupled to the induced , generating a change in current and producing a
processor unit 205. The functionality of the components 15 detected movement signal. The change in current is detected
with regard to exemplary uses ofmulti-function electronic by the motion detection module 210 , and is used to deter
devices 201a and 2016 is described in greater detail in the mine the rate of motion of the card reader head passing
following description .                                         across the surface of the multi-function electronic device
    A further aspectof the present disclosure provides a single 201a (and therefore along the planar coil 220 ).
multi- function electronic device that can be used for mul- 20 The optical sensor array 230 is also operable to detect a
 tiple banks or financial institutions. For example , instead of movement rate of the multi- function electronic device 201a
carrying a separate credit card for each account of a variety with respect to a conventional magnetic card reader. The
of credit card companies, a customer need only to carry a optical sensor array 230 is disposed nearby the planar coil
single card according to embodiments of the present disclo        220 , in order to accurately detect a movement rate in the
sure. The capability of the multi - function electronic device 25 region of the planar coil 220. In an embodiment, the optical
to generate a multitude of credit card numbers provides the sensor array 230 is a thin strip parallel to , and extending
ability of the multi -function electronic device to be associ     along, the length of the planar coil 220. The optical sensor
ated with multiple accounts. Furthermore, inputs at the touch     array 230 determines a location of a minimum of received
sensor array on the multi - function electronic device can be     light, which corresponds to the region of a surface in nearest
used to select the appropriate bank or credit provider 30 proximity to the optical sensor array 230. The magnetic
account stored in the memory unit of the multi - function reader head of a conventionalmagnetic card reader extends
electronic device .                                              furthest from the surface of the card reader, and therefore the
   FIG . 2C depicts a process of selecting an account from a detected minimum in received light at the optical sensor
plurality of stored accounts in order to perform a transaction array 230 corresponds with the location of the reader head .
with the selected account, according to an embodiment of 35 By tracking over time the position of this minimum received
the present disclosure . The process 280 begins at step 282 , light along the optical sensor array, a detected movement
where a plurality of accounts stored by the multi- function rate may be found.
electronic device memory is displayed . The plurality of            The set of accelerometers 235 are also operable to detect
accounts 209 are stored by memory 207, and are displayed a movement rate of the multi- function electronic device
using display 250. A user indicates an account selected from 40 2012. The set of accelerometers 235 are positioned in the
the plurality of accounts at step 284. The selection is able to multi -function electronic device 201a in order to effectively
be made by keypad or touch sensor array 245 , and an measure the position and acceleration of the multi-function
indication of the selected account can be displayed via electronic device 2010. In an embodiment, the set of accel
display 250. At step 286 the multi -function electronic device erometers comprises groups of accelerometers , each group
is configured according to account information associated 45 having one or more accelerometers disposed at orthogonal
with the selected account, which may include an account planes to each other, and each group capable of generating
number, an expiration date , and other user information signals that allow for determination of the orientation ,
associated with the account ( e.g. a username, PIN , pass motion and acceleration of the multi - function electronic
word , email address, etc. ). At step 288 the planar coil of the device 201a .
multi- function electronic device is encoded with a limited- 50 The detected movement signal is received by the motion
 duration credit card number that is associated with the detection module 210. The detected movement signal is
 selected account . The limited -duration credit card number is generated by any one of the set ofmotion detection units, or
able to be generated according to the selected account, a any combination of motion detection units of the set. For
timestamp, a transaction amount, an indicated merchant, example , the movement detection signal is able to be gen
user key or secrets, on -card unique hardware secrets , credit 55 erated by the combination ofthe rate detection assembly 225
card authority key or secrets , user input from the card and the optical sensor array 230. In an embodiment, the
interface , and other information associated with the trans      movement detection module 210 is able to determine the
action .                                                         movement rate of the multi - function electronic device 201a
Movement Rate Feedback                                            from the detected movement signals, and transmits the
   The relative movement rate of multi-function electronic 60 determined movement rate , and orientation to the processor
device 201? is detected by one or more of the set ofmotion unit 205. In an embodiment, the motion detection module
detection units, comprising the rate detection assembly 225 , 210 sends the detected movement signal to the processor
the optical sensor array 230, and the set of accelerometers unit 205 , and the processor unit 205 determines the relative
235. Each of the motion detection units detects the motion    movement rate .
of the credit card 201a in a distinct manner . The rate 65 In one embodiment, the generation of the magnetic field
detection assembly 225 , which is positioned alongside (but by the planar coil 220 at a specified rate of alternating
independent of) the planar coil 220 , is able to detect the polarity is accomplished according to the following descrip
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tion . One or more of the motion detection units in the set of     electronic device having a region for receiving human input,
motion detection units ( rate detection assembly 225 , optical     e.g., touch sensors which are able to be formed by contacts
sensor array 230 , and set of accelerometers 235 ) detect a        that a user can press (e.g., the touch sensor array 245 of
movement rate of themulti -function electronic device 201a FIGS. 2A - 2B ). FIGS. 4A -4B illustrate a user interacting
with respect to a magnetic card reader, and signal the motion 5 with a multi -function electronic device 401 via a keypad or
detection module 210. The movement rate is provided to the touch sensor array 445. In FIG . 4A , the multi-function
processor unit 205 , which determines the appropriate rate for electronic device 401 is in a locked state . A display 450 is
 alternating the polarity of the magnetic field generated by able to display a message to the user, for instance, the
the planar coil 220. The processor unit 205 outputs instruc message " device locked ” or “ enter password ,” or question
 tions or data to the coil interface 215 at the determined rate, 10 prompts which guide the user to respond with answers
which in an embodiment is a digital-to -analog converter (a through the key -pad or the touch sensor, to certain preset
DAC ) and acts to translate the signal from digital to analog questions, that confirm personal knowledge known only to
 in order to drive the planar coil 220 and produce the the associated user. The touch sensor array 445 enables user
magnetic field . The instructions from the processor unit 205 interaction with themulti- function electronic device 401. An
are comprise binary code, which are output through a shift 15 exemplary use of the touch sensor array 445 is an input of
register to the coil interface 215. The shift register outputs a currency amount to be used in a transaction . The touch
data at a rate proportional to the determined movement rate sensor array 445 is able to include buttons, or a touch
of the multi- function electronic device 201a — thus , a higher sensitive pad , or a combination of the two. Other embodi
determined multi- function electronic device 201? move                ments of the touch sensor array 445 allowing a user to input
ment   rate has  a corresponding  higher output  rate at the shift 20 data to the multi-function electronic device 401 are consis
register, leading to a higher rate of alternating polarity at the tent with the spirit and scope of the present disclosure.
generated magnetic field ( i.e. , encoded data symbols output         In order to unlock the multi- function electronic device
more quickly). Conversely, a lower movement rate ofmulti           401 and enable a transaction or other usage , the user inputs
function electronic device 201? leads the processor unit 205       data via the touch sensor array 445. FIG . 4B illustrates the
to control the shift register to output data at a lower rate, and 25 user inputting a password via a gesture 470 , which operates
consequently the rate of alternating polarity in the generated to unlock the multi- function electronic device 401. The
magnetic field is lower.                                             display 450b is able to display a message indicating the
    FIG . 3 illustrates an exemplary process 300 for determin multi -function electronic device 401 is unlocked and ready
 ing the rate to alternate the polarity of the generated mag       for use, for instance , display 450b may display the message
netic field of the multi- function electronic device, according 30 “ unlocked ,” or it may display an account number associated
to an embodiment of the present disclosure . At step 301 the with the multi- function electronic device 401.
process determines if a standard magnetic card reader is              Embodiments of the present disclosure provide additional
detected to be in proximity with the multi-function elec           functionality for the touch sensor array 445. For example,
tronic device. If NO , the step repeats. If YES , the process there may be touch contact terminals that a user can press to
moves to step 303. At step 303 a detection of a movement 35 wake up the multi -function electronic device 401 , to cause
rate at which the body of the multi- function electronic the battery to supply power, or to place the multi-function
device is moving relative to the standard magnetic card            electronic device 401 in a power reduction mode when it is
reader is made . The process continues at step 305 , wherein not being used . In an embodiment, if any number other than
a magnetic field is generated by an inductor assembly the correct password is entered multiple times , or if there is
comprised by the multi- function electronic device, the mag- 40 an attempted usage of the multi-function electronic device
netic field having a target rate of alternating polarity that is 401 without entering in a password , an automatic phone call
based on the detected movement rate from step 303. The may be triggered to the appropriate fraud protection authori
process then repeats at step 301, determining if a standard ties.
magnetic card reader is (or remains ) in proximity to the             In one embodiment of the present disclosure , the display
multi-function electronic device . In this manner, while a 45 450 is a thin - film liquid crystal display (“ LCD ” ). The
standard magnetic card reader is detected to be in proximity display 450 is able to have multiple uses. In one embodi
to the multi- function electronic device, the movement rate of     ment, the display 450 can be used to cue the user for a
the multi- function electronic device is determined and the        security question upon input of an improper password . Or if
polarity and orientation of the generated magnetic field is fraud protection services need to contact a customer , they
alternated at the appropriate rate, to recreate the data as 50 can verify the customer's identity by transmitting a security
described above, at the correct rate , in order to clock out the question to the display 450 of user's multi-function elec
data to be conveyed to the magnetic strip reader, at a rate tronic device 401 , to which the user would need to respond
matching the action of an ordinary magnetic strip card correctly using the input buttons oftouch sensor 445 on the
through same the magnetic card reader.                             card . See also , for example , FIGS. 8 and 9 .
Security                                                        55 Limited - Duration Credit Card Number
   Security is an area of concern for credit card holders, as    A further security feature of the multi- function electronic
the small form factor makes theft quite easy, and addition device provided in the present disclosure is the capability of
ally there are many ways for a malicious third -p arty to producing a limited -duration credit card number for per
record the account number of a credit card in order to later forming transactions using accounts of the card . The multi
make fraudulent transactions on the account. Embodiments 60 function electronic device comprises a real- time clock that is
of the present disclosure address security concerns of a able to produce a cryptographically protected timestamp for
credit card owner on several fronts .                         each interaction . The power source is able to activate the
   In one aspect, security of the multi- function electronic processor unit such that a unique number may be generated
device is enhanced by providing a means of locking the             by the multi-function electronic device and verified by the
multi-function electronic device in order to prevent use , 65 credit authority according to the timestamp and the trans
until such time that a valid user input is entered . Embodi        mitted user information . The limited -duration credit card
ments of the present disclosure provide a multi-function           number is able to be produced at the time the multi- function
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electronic device is performing a transaction, and is able to rather than a currency amount being downloaded to the
be generated according to the user's private information , a multi- function electronic device 2016 , the user account
bank information, information regarding the facility per information ( e.g., username and password ) is stored such
forming the transaction , and the time of day. The limited      that a subsequent authorized multi -function electronic
duration credit card number is able to be limited to only one 5 device 2016 transaction is automatically pre - authorized to
transaction, a finite number of transactions, or may be deduct (or credit) the entered transaction amount at a stored
limited to a specified period of time e.g., 2 minutes, 10 account. In an embodiment, a user uses the touch sensor
minutes , 3 hours after which time that particular limited        array 245 of the multi- function electronic device 2016 in
duration number would become invalid . As detailed above , order to input the user information , including the amount of
if an expired limited -duration credit card is attempted to be 10 currency to be stored . The information entered by the user is
used for a transaction , the transaction is denied and an able to include an account source of a transaction ( e.g., bank
automatic notification is able to be made to a credit authority account, credit account, merchant account, ATM , online
in order to notify the user and to prevent transactions on the payment service , or a cryptocurrency ), as well as a type of
account. The transaction count is able to be determined transaction to be made (e.g. , as a debit card , as a credit card ,
through the action of passing the card through magnetic 15 or as a user account). In another embodiment, the informa
reader, and the process of transmitting the card number to tion is entered using the computing system to which the
the card reader.                                                    multi- function electronic device 2016 is connected .
   In one embodiment, the number on the front of the card              Transactions may be authenticated on the specified
is able to be a full or partial number . In an embodiment, the account by entry of the username and password for the
number displayed on the multi - function electronic device is 20 account during the transaction , using the touch sensor array
a static number, but the number transmitted during a trans 245. In an embodiment, a password for an account is
action is a limited -duration credit card number as described represented by a user input (such as a gesture , a swipe ,
above . The number displayed on the multi- function elec            and / or an unlock keycode ) which is entered on multi
tronic device may not necessarily be a static number . For function electronic device 2016 during a transaction for
example , the first four and last four digits of the credit card 25 account authentication . See also , for example , FIG . 9 .
number are able to be fixed ,while the remaining eight digits According to an embodiment of the present disclosure , a
can be dynamically generated . As the credit card is read by user that has “ primed ” the multi -function electronic device
the machine , part or all of the numbermay be dynamically 2016 for a transaction has already performed a security
produced at the time the card is read .As described above, the authentication on the card , and therefore a subsequent card
dynamic part of the limited -duration credit card number 30 transaction is able to be pre -authorized to perform the
generated may be based on the user's private information,         transaction without further user authentication steps. The
the user's bank information , the time of day or the facility     priming action can be a tap of the multi-function electronic
that is reading the card . Further, the expiration date of the    device 2016 detected by accelerometers 235 , or a gesture ,
multi-function electronic device can also be dynamically          swipe, or a key input received by touch sensor array 245. See
generated . See also , for example, FIGS. 8, 9 and 11 .   35 also , for example, FIG . 9 .
  Effectively , embodiments of the present disclosure pro       A transaction is able to be communicated using the planar
vide a multi - function electronic device that has no fixed       coil 220. In one embodiment, when the transaction is a credit
number, as illustrated in FIG . 11 , and therefore the account    card transaction , a limited - duration credit card number is
 cannot be compromised . Only the number generated at the generated . A user inputs an amount for the transaction using
instant of the credit card transaction matters. Accordingly , 40 the touch sensor array 245 , and the limited -duration credit
unauthorized use of the multi- function electronic device is card number is generated to correspond with the entered
highly unlikely, because a transaction cannot be conducted amount. The binary data corresponding to this limited
with an expired limited -duration credit card number , or only duration credit card number is sent from the processor unit
the static portion of the credit card number. In one embodi      205 to the coil interface 215 , where it is converted to an
ment of the present disclosure, sufficient dynamically gen- 45 analog signal in order to drive the planar coil 220 to generate
erated numbers are provided for on the credit card such that a magnetic field having an alternating polarity correspond
a unique credit card number can be generated for each             ing to the encoded data of the limited -duration credit card
transaction . In this embodiment, the credit card of the          number.
present disclosure effectively acts as a unique per- transac Online Transactions
tion credit card .                                          50 FIG . 5 displays the multi- function electronic device 501
   With reference to FIG . 2A , 2B , in one embodiment, the in connection with a computing device 590. In one embodi
process steps enabling a card transaction are as follows. A       ment, the multi- function electronic device 501 is able to be
multi- function electronic device (e.g., multi-function elec      used to make online purchases. In one embodiment, the
tronic device 2016 ) is connected to a computer system (e.g. multi -function electronic device 501 is equipped with a
computer system 590 , FIG . 5 ), via any of the connection 55 means 570 for communicating with the USB port on a
means available to the multi- function electronic device computer or other device in order to make online purchases.
(USB 270, NFC 260, and RFID 265 ). User data and other In one embodiment the multi -function electronic device 501
essential information , such as account information , are         may have an area cut-out, such that contact terminals
downloaded to the multi- function electronic device . For         corresponding to a USB cable connector are contained
example , for an account designed for online transactions, 60 within , enabling connection of a USB cable (e.g., a micro
user account information will likely include an account USB connection ). When performing online transactions, the
email and an account password . The account may be for multi -function electronic device 501 can uniquely generate
example a bank account, a credit account, a merchant a limited -duration credit card number (as described above )
account, an online transaction account, or a cryptocurrency . for online purchases. The multi - function electronic device
In one embodiment a currency amount is also downloaded , 65 501 receives a user input indicating that a transaction is
which is made accessible to the multi -function electronic imminent, and an authorization . The user input is able to
device 2016 for transactions. In an alternative embodiment, comprise a gesture, a swipe , a key input sequence, and
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combinations thereof. The limited -duration credit card num          transaction is confirmed through “ polling” , the process of
ber is able to be displayed on the front display of the which involves transmission of data between cards, and
multi- function electronic device 501. In one embodiment, confirmed receipt of transmitted data by response received
 the multi- function electronic device 501 is able to use RFID from second card received at first card , including informa
 265 or near field communication NFC 260 technology in 5 tion confirming receipt of the information , by second card .
order to connect to a personal computer 590. This enables a       The planar coil comprised by each of multi -function
per- transaction, limited -use credit card number, enhancing electronic device 601a and multi- function electronic device
the security of the credit account by substantially negating 6015 is able to be a means of transferring information for a
the possibility of a theft of the credit card number used to transaction , e.g., such as an antenna . Once either, or both , of
perform the transaction leading to account compromise . See 10 multi-function electronic device 601a and multi - function
also , for example , FIG . 10 .                              electronic device 6016 detect interaction 680, a transaction
    According to an embodiment, the transaction is able to is able to be completed via generation of a magnetic field at
 include information regarding a user account, such as an one card and reception of the magnetic field (i.e., reading ) at
email address of the user, and upon reconnection ofmulti     the other card . In this manner, the card ( e.g., multi- function
function electronic device 2016 to a computer system (for 15 electronic device 601a ) receiving the transaction informa
instance, computer system 590 ), the transaction information tion operates its planar coil in an antenna mode. This enables
stored on multi- function electronic device 2016 could be multi- function electronic device 601a and multi - function
“ replayed ” by the computer system in order to finalize the electronic device 601b to authentically perform a transac
transaction .                                                    tion , and to transfer a currency between multi - function
    In one embodiment, a means of limiting an available 20 electronic device 601a and multi -function electronic device
credit amount are provided . According to the download 601b . As described above , in an embodiment the transaction
process described above , the multi -function electronic is able to use a limited -duration card number to encode the
device is able to have a total credit available . The multi      transaction .
function electronic device is able to reference the total credit    In an embodiment, a set of accelerometers is used to
available in subsequent transactions, and will provide lim- 25 detect the beginning of the transaction, for instance, a
ited -duration credit card numbers corresponding to amounts transaction performed by a swipe of multi -function elec
up to , but not exceeding, the remaining credit available to tronic device 601a across multi- function electronic device
 the multi-function electronic device . An attempt to perform    6016. Further, the set of accelerometers can detect a “ prim
a transaction having an amount exceeding the remaining ing” action for a multi -function electronic device , i.e., an
credit available will not result in a valid limited - duration 30 indication for a multi -function electronic device that a
credit card number, and therefore an authenticated transac        transaction is imminent. The priming action can be a tap of
tion cannotproceed . In general, themulti- function electronic the multi-function electronic device 601a , or tapping the
device will only successfully generate a limited -duration multi-function electronic device 601a against the multi
credit card number if the proper conditions for a transaction function electronic device 6016.In one embodiment, a touch
are determined to be present. The proper conditions for a 35 sensor array is able to be used for the priming action .
transaction comprise a correct identification having been          In an embodiment of a card - to -card transaction , one card
made by the user (via a gesture , swipe, and /or key input) and (e.g. 601a , the card of the user having a currency debit )
an amount for the transaction indicated to be less than the          generates the limited -duration credit card number, which is
total credit available to the account indicated for the trans        transmitted via the card's planar coil. The multi- function
action .                                                         40 electronic device of the recipient (e.g. , 6015, the card of the
Card - to - Device Transactions                                     user receiving a currency credit ) receives the encoded data
   In addition to transactions performed using conventional via the planar coil, acting as an antenna , and the coil
magnetic card readers (such as at point-of-sale locations, interface is able to convert the received signal into a digital
banks , and automated tellermachines (ATMs)) and via cable signal understood by the processor to be the limited -duration
connection with a computing device , transactions performed 45 credit card number , identifying both the correct account and
wirelessly between a card and a device ( e.g., card -to - card , the amount of the transaction .
card - to -computer device having a reader dongle , card -to             In one embodiment, the multi-function electronic device
 ATM ) are provided according to embodiments of the present 2016 stores cryptocurrency information in processor unit
disclosure . See , for example, FIGS. 8 and 10. For simplicity , 205. The cryptocurrency information stored is able to
the following describes a card -to -card transaction , but it will 50 include a plurality of cryptocurrency addresses, a plurality of
be understood that card - to -device transactions are similarly private keys , and a plurality of public keys . The multi
provided .                                                            function electronic device 2016 is able to perform a trans
   FIG . 6 illustrates a card -to -card transaction according to action, as described above , using a cryptocurrency as the
one embodiment. A first multi- function electronic device            specified account. In one embodiment, the multi -function
601a comprises a display 650a, and is in contact with a 55 electronic device 2016 is able to hash a portion of the
second multi- function electronic device 601b . A contact            transaction , using the processor unit 205 and the real-time
 interaction between the cards is indicated by interaction 680 . clock 240 along with user information pertinent to the
 In one embodiment, the contact interaction is a tapping of cryptocurrency account and the transaction. A subsequent
multi - function electronic device 601a against multi-function connection of the credit card 2016 to a computing device
 electronic device 6016. In another embodiment, an optical 60 provides a means of connecting to the cryptocurrency serv
sensor array at one or both of the cards detects interaction ers and finalizing the transaction . Further, themulti -function
680. In another embodiment, interaction 680 indicates a electronic device 2016 is able to sign a cryptocurrency
swipe ofmulti - function electronic device 601a across multi transaction by , for instance, receiving a prompt at the display
function electronic device 601b . In one embodiment a user 250 to inputa dynamic PIN specific to the transaction , which
input through the key -pad initiates and enables a transaction 65 is able to be entered by touch sensor array 245 .
from first card to second card . In one embodiment the               In a card -to - card cryptocurrency exchange, a record of the
presence of second card in preparation for card to card              transaction can be made according to the following . A first
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card ( e.g. 601a ) making a deduction with an amount indi signal is able to be a swipe, gesture, or key input sequence
cated via touch sensor array 245 is able to generate a record entered via the touch sensor array 245 , which activates the
of the transaction and store the record in the card memory , card for a specified duration ( for instance, one minute ). In an
while a second card (e.g. 601b ) receiving the cryptocurrency embodiment the detection ofmotion through accelerometer
is able to generate a confirmation of the received transaction 5 input indicates activation by a valid user. In one embodiment
amount. In one embodiment, the amount indicated is pro               the specific motion detected through accelerometer input
vided by the receiving card 6016. The hashed record of the corresponding with a specific user action , such as a “ flick ” ,
transaction contains the unique information of each user, " swipe” , “ spin ”, “ wave ” , “ tap ,” may be used to initiate
 along with the transaction amount. The success or failure of activation , wherein the motion is not normally generated at
 the transaction is able to be displayed on the respective 10 idle and during periods of inactivity. For example the motion
displays of credit cards 601a and 601b .                             not being generated accidentally while the card is stored in
Account Theft and Unintended Use Prevention                          a user's wallet , carried while the user is actively moving, or
    A security concern for conventional credit cards utilizing is being handed from user to a clerk at a point of transaction .
wireless communication means is the ability of a thief to In one embodiment the specific motion , or sequence of
access and / or copy user information through un - detected 15 motions ,may be associated with a user, and stored on the
interaction with the wireless communication means. Sensi card memory, such that performing the correct sequence
tive and confidential information can be gleaned via , for when prompted can confirm the possession of the card by the
example, " listening -in ” on an RFID interaction between a known owner, thus initiating activation and enabling usage.
credit card and a contactless reader , recording the charac            FIG . 7 depicts a process of selectively enabling the
teristics of the interaction , and replicating certain character- 20 communication capability of the multi-function electronic
istics to fake an authorized transaction . While to a great device according to an embodiment of the present disclo
extent security concerns are addressed by the usage of sure. The process 700 begins at step 701, where an input
limited -duration credit card numbers and other security signal is received at the multi- function electronic device
features provided for by the credit card of the present from a user . The input signal is able to be generated by any
disclosure and previously described, a further security fea- 25 one, or combination , of a plurality of inputmeans, where the
ture regarding the wireless communication means of the input means comprise : a swipe gesture received at a touch
multi- function electronic device is described herein .           sensor array ; a key press sequence ; an accelerometer sensor
   In one embodiment, wireless communication means of               indication of multi- function electronic device motion , and a
the multi - function electronic device 2016 are in a powered      galvanic sensor indication that the credit card is in a user
down , or disabled , state prior to receiving an authenticated 30 grasp . The input received from the user enables operation of
activation signal from a user. Upon receiving the activation a near- field communication (NFC ) unit of the multi - function
signal, the communication means ( e.g.,NFC 260 , RFID 265 , electronic device. In one embodiment, the NFC unit is
and planar coil 220) are vated , enabling the multi               disabled prior to receiving the input signal. In one embodi
function electronic device 2016 to conduct a transaction . ment, an RFID communication unit is disabled prior to
 The activation signal can originate from one (or a combi- 35 receiving the input signal, and is activated by the input
nation ) of the set of motion detection units ( rate detection signal . In one embodiment, the planar coil is disabled prior
225, optical sensor array 230 , and accelerometers 235 ), the to receiving the input signal, and is activated by the input
touch sensor array 245 , and the galvanic sensor 275. The signal.
galvanic sensor 275 is operable to detect a contact of human         The multi -function electronic device, following enable
skin , via a current produced at the sensor 275 upon such 40 ment of the NFC unit, receives an indication of an amount
contact . See also , for example , FIG . 8. In an embodiment the of currency for a transaction at step 703. At step 705 , the
galvanic sensor 275 is comprised ofmetallic contacts dis multi-function electronic device generates a limited -dura
posed on opposite sides of, and isolated by, the body of tion credit card number, which at step 707 is transmitted to
multi -function electronic device 2016. In one embodiment, a recipient of the transaction . In one embodiment, the
the current produced by user contact with the galvanic 45 limited -duration credit card number has a limited recur
sensor 275 contacts is sufficient to provide small amounts of rence, and is limited in scope of use to a predetermined
energy in order to power components of the card . For number of authorized transactions .
example , energy produced is able to power the processor             In the foregoing description of process 700 , the ordering
unit 205 and the RFID 265. In one embodiment the galvanic of the process steps is exemplary and should not be con
sensor 275 further comprises two conducting surfaces sepa- 50 strued as limiting . Alternative ordering of the process steps
rated by a junction , and the galvanic sensor 275 is config      is consistent with the present disclosure , as conceived by one
ured as a thermoelectric generator ( e.g., via the Peltier effect, skilled in the relevant art.
the Seebeck effect, or a combination ). For example , heat            In one embodiment of the present invention , a credit card
applied at one surface ofthe multi -function electronic device comprises a dynamic magnetic strip incorporating a main
2015 may lead to differential heating between the opposing , 55 inductor assembly from which magnetic field data symbols
separated conducting surfaces of the galvanic sensor 275 ,          are dynamically generated . In one embodiment the inductor
generating an electric current and powering a subset of, or         assembly may be a planar coil formed within the plastic that
all of, the components of multi- function electronic device         the credit card is composed with . The advantage of using a
 2016 (e.g., the processor unit 205, the NFC 260, and the planar coil is that it can produce the same magnetic field
RFID 265 ).                                                   60 interaction that a traditionalmagnetic strip on a conventional
   In an embodiment, the communication means are acti            credit card can produce when it is passed through a reader.
vated only so long as the activation signal continues to be Similar to a traditional plastic credit card , the planar coil can
detected . In another embodiment, the communication means also produce a magnetic field that can be read by a pickup
are activated for a specified amount of time following (or “ transducer” ). The pickup produces electric current in
detection of the activation signal. For example, if using the 65 the coil that , in turn , produces a magnetic field that is read
multi - function electronic device 2016 in an ATM (or other by the pickup. Accordingly , the planar coil can be read in the
device ) preventing continuous human contact, the activation sameway as the magnetic strip on a traditional plastic credit
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card . The magnetic field produced by the planar coil would generated . Effectively, a credit card can be created that has
behave identically to a traditionalmagnetic strip .                no fixed number and therefore cannot be stolen . Only the
    In one embodiment, alongside the main planar coil, number generated at the instant the card is being used
auxiliary rate detection assembly independent of the main matters . Accordingly , unauthorized use of the card is nearly
inductor assembly would be provided to assist with the 5 impossible because no transaction can be conducted with
alignment of the production of data from the loop as it is only the partial static part of the credit card number. In one
being passed over the head of the credit card reader. The embodiment of the present invention , enough dynamically
reader module of a traditional credit card reader comprises generated numbers are provided for on the credit card such
a metal head with a small gap on the tip of the head . This gap that a unique credit card number can be generated for each
is where the pickup armature resides , so that when the metal 10 transaction . In this embodiment, the credit card of the
head passes over the credit card strip , an electric field is present invention effectively acts as a unique per transaction
induced in the head reader pickup circuit . In one embodi          credit card .
ment the auxiliary rate detection assembly is constructed of          In embodiments of the present invention comprising
an array of auxiliary inductor coils and magnetic pickup dynamically created credit card numbers, a single credit card
coils, alongside the main coil. As the metal head of the card 15 can be used for multiple banks. For example , instead of
reader assembly passes over the arrangement of auxiliary carrying a separate credit card for all the differentcredit card
coils and pickup circuits, a disturbance in the magnetic field companies, a customer would only need to carry a single
flowing between the two generates a electrical current card and one of the inputs on the front of the card can be
change that is detected by a rate detection circuit so as to used to select the appropriate bank or credit provider.
detect the rate of motion of the card reader head passing 20 In one embodiment of the present invention , a thin film
across the surface of the card and therefore along the main liquid crystal display (“LCD " ) can be fitted on the card so
 induction assembly . The purpose of this is to allow the the credit card can have a display screen . The display can
determination of the rate or production of magnetic data have multiple uses . In one embodiment, the display can be
symbols in the main inductor assembly to align with the rate used to ask the user a security question if an improper
at which data is being read by the reader, according to the 25 password is entered . Or if the fraud protection services need
data density of standard card magnetic strips. Accordingly, to contact a customer, they can verify the customer's identity
it is irrelevant if the credit card of the present invention is by transmitting a security question to the user's credit card
being swiped fast or slow , the main inductor assembly screen to which the user would then need to respond
produces data at just the right rate depending on the rate at correctly using the input buttons on the card .
which the card is detected it is being passed over the reader's 30 In one embodiment, the credit card of the present inven
head .                                                             tion could also be used to make online purchases. In this
   In one embodiment, a microprocessor is connected to the embodiment, the card could use RFID or near field technol
main coil and the alignment pickups. The microprocessor is ogy so that it can connect to a personal computer and be used
responsible for producing the data from the coil at the to uniquely generate a credit card number for online pur
appropriate rate in accordance with the speed with which the 35 chases. The number could also , in one embodiment, be
card is swiped through the reader. As shown in FIG . 1, the displayed on the front LCD of the card . In one embodiment,
auxiliary coil detects the rate at which the credit card is the card may also be equipped with a means for communi
being swiped . The microprocessor then uses this informa cating with the USB port on the computer in connection with
tion to produce the data from the main planar coil at the making the online purchases.
appropriate rate for the credit card reader .                   40 Table 1
    In addition , the credit card of the present invention            What is claimed is :
comprises a real time clock that can produce a cryptographi           1. An apparatus for conducting credit transactions com
cally worthy timestamp for each interaction and a battery prising:
back up that can be used to power up the microprocessor.              a device with the similar dimensions and thickness to a
Further, the card can comprise additional human inputs , e.g., 45       standard credit card
touch sensors which can be formed by contacts that a user            an inductor assembly integrated into said device capable
can press. For example , there can be contacts that a user can          of generating a programmed magnetic field at a loca
press to wake up the card , to cause the battery to supply              tion on the device where it will come into proximity to
power, or to put the card to sleep when it is not being used .          a standard credit card magnetic -strip reader
 There can also be additional inputs to key in customer 50           the inductor assembly being operable to be read by a
specific information . For example, there can be inputs to key         magnetic pickup of an electronic credit card reader;
in a password or any other kind of unique identifier. If any         at least one auxiliary rate detection units adjacent to said
other number besides the password is entered multiple                   inductor assembly, wherein said at least one auxiliary
times, or if there is attempted usage of the card without               detection unit is operable to detect a rate at which said
entering in a password , an automatic phone call may be 55             device, including said inductor assembly , is passed
triggered to the appropriate fraud protection authorities.             through said electronic credit card reader; and
   In one embodiment, the number on the front of the card           a microprocessor operatively coupled to said inductor
can be a full or partial number. The number may not have to            assembly and said at least one detection unit , wherein
necessarily be a static number. For example , the first four           said microprocessor is operable to simulate magnetic
and last four digits of the card number can be fixed while the 60       strip data fields using the inductor assembly , at a rate
remaining eight can be dynamically generated . As the credit           determined from said auxiliary detection units.
card is read by the machine, part or all of the number may          2. A method ofClaim 1 , wherein the inductor assembly is
be dynamically produced at the time the card is read . The a planar coil which is a looped inductor with dimension
dynamic part of the number generated may be based on the roughly equal to , and along the axis of, the standard credit
user's private information , the user's bank information , the 65 card magnetic strip
time of day or the facility that is reading the card . Further,     3. A method of Claim 1 , wherein said detection assembly
the expiration date of the card can also be dynamically consists of a plurality of motion rate detection units , which
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may comprise inductor coils and companion magnetic - field              wherein payment information for a transaction is operable
pickup coils, each of which is able to detect the proximity of             to be conveyed via the reader interface and comprises
metallic objects, such as magnetic -strip reader heads, pass              limited -use payment information , and wherein further
 ing through the magnetic field created by said inductor and               the limited -use payment information is to be used in
detected by said pickup coil .                                 5
                                                                           place of card issuer payment information for payment
   4. A method of Claim 1, wherein said device may incor                   transactions by said device at payment card reader
porate a plurality of touch sensors arranged along the surface              facilities .
of said device which may;                                                2. The device of claim 1 , wherein the body comprises
  allow user input of information ,                       fixed payment information disposed thereon and wherein the
  allow introducing a transaction specific identifier, 10
                                                          fixed   payment information includes only : a card -holder
  to confirm /deny transaction information ,              name  ; a payment issuing logo ; and a card payment network
  to operate in sequence, or with a gesture across said logo , and    wherein further, the body is free of any account
     sensor for the purpose lock / unlock or control access for       numbers, expiration dates , card security codes , or other fixed
     transactions
   5. A method of Claim 4 , wherein said device contains a 15 payment numbers, disposed thereon .
real- time clock or counter unit which generates a sequential     3. The device of claim 1 , wherein the limited -use payment
parameter when the card is read by said credit card reader, information is conveyed via the magnetic -stripe and is
and which along with certain user information , transaction unique to the payment device and to the magnetic stripe , and
identifiers , user secrets, credit card authority secrets is     wherein the limited -use payment information is limited to
combined to generate a limited - use credit card number, 20          use by the payment device and is operable for convey
which has a limited recurrence, is limited in scope of use to        ing payment information to a magnetic - stripe payment
a predetermined number of authorized transactions                    card reader, and
   6. A method of Claim 5 , wherein the time, sequence , er,     wherein said limited -use payment information has a lim
credit card authority and other information is similarly             ited period of valid use , and
combined by credit card processing facility to generate a 25 wherein said limited -use payment information is not valid
credit card number for comparison to the number transmit            when used other than through a magnetic stripe pay
ted by the credit card reader, for the purposes of authenti         ment card reader.
cating said number is from a recognized card used in a            4. The device of claim 1 , wherein said limited -use pay
user -authorized transaction                                   ment information is provided by a card issuing authority for
   7. A method of Claim 1, wherein said device incorporates 30 use by the payment device and wherein the card processing
a display allowing credit card number, time, passcodes,                authority rejects as invalid , any use of said limited - use
sequence codes , amounts and other credit card transaction             payment information obtained via any means other than : a
information to be displayed for user, mer ant, bank or                 payment card reader reading said limited -use payment infor
credit card authority                                                  mation from the reader interface .
   8. An Apparatus for conducting credit transactions com- 35 5. The device of claim 1, wherein a request for payment
prising,                                                               includes at least one of a set comprising: payment informa
   wherein the edge of said device contains a connector for tion , transaction information , merchant information , and
       connection to standard computing devices such as a payment card reader information , and
      USB interface .                                                     wherein a card -present transaction is one including the
    The foregoing description , for purpose of explanation , has 40          limited -use payment information , and valid payment
been described with reference to specific embodiments.                       card reader information , and wherein a card -not-pres
However, the illustrative discussions above are not intended                 ent transaction is one including at least a portion of said
to be exhaustive or to limit the invention to the precise forms              limited -use card payment information , and not includ
disclosed. Many modifications and variations are possible in                 ing valid payment card reader information ; and,
view of the above teachings. The embodiments were chosen 45 wherein a processing authority is operable to approve as
and described in order to best explain the principles of the                 valid , a card -present payment transaction ; and,
invention and its practical applications, to thereby enable               wherein said card processing authority is operable to
others skilled in the art to best utilize the invention and                  reject, as not valid , a use of the limited -use card
various embodiments with various modifications as may be                     payment information in a card -not-present payment
suited to the particular use contemplated .                         50       transaction ; and
   Embodiments according to the invention are thus                        wherein a card issuing authority receiving said request for
described . While the present disclosure has been described                  payment is operable to decline a transaction not involv
in particular embodiments, it should be appreciated that the                 ing a valid card -present use of a limited -use card
invention should not be construed as limited by such                         payment information portion used in place of card
embodiments     , but rather  construed   according   to the below  55       issuer  supplied payment information.
claims.                                                                   6. The device of claim 1 , wherein a card processing
   What is claimed is :                                                authority is operable to reject as invalid , a use of the
    1. A payment device comprising:                                    limited -use payment information provided via the reader
   a thin shaped body having no fixed payment numbers interface, in online payment transactions.
       disposed thereon ;                                           60    7. The device of claim 1 , wherein a card issuer providing
   a memory ;                                                          the limited - use payment information, for use by the payment
   a cryptographic processor coupled to the memory ; and               device , limits valid approval of said limited -use payment
   a reader interface, including at least one interface selected information to performing a card -present payment transac
       from a set comprising: a magnetic -stripe , a smart card tion by the card device , and wherein said card issuer declines
       reader interface , a mag - stripe inductor interface , an RF 65 as invalid a use of said limited -use payment information in
       interface, an NFC interface, and a wireless interface , transactions other than wherein the payment device is pres
     and                                                              ent, and
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  wherein a card issuer limits said card payment informa                 a payment information ;
     tion to use for a finite amount of time, and declines as            a card reader information ;
     invalid use when said amount of time has expired , and              an account information ;
  wherein a card issuer limits use to payment for transac                an amount;
     tions with the user approving, and declines as invalid 5            a transaction information ; and
     use when the card user is denying an approval , and                 a cryptographic combination of at least two of the above
  wherein a card issuer limits to use in place of card issuer               set of information , and wherein the processor incre
      information for payments by the payment device.                      ments the card device transaction sequence count on
  8. The device of claim 1, wherein the reader interface is                each transaction .
operable to wirelessly receive cardholder transaction infor- 10          11. An online payment system , the system comprising :
mation and to identify a valid user through at least one                 a thin payment device comprising no fixed payment
user -validation action , selected from a set of comprising:                numbers visible thereon ; and
   a device touch ID sensor identifying a touch of the valid             a personal computing device , wherein the personal com
      user;
   a device touch sensor-array receiving a user entered valid 15            puting device comprises:
      passcode;                                                          a processor;
   a device key -pad receiving a use entered a valid passcode ;          a memory ;
  a device user interface receiving a user entered a valid        a wireless interface ;
     PIN or Key -Code;                                            a display operable to provide a visual user - interface
  a device user interface receiving a user entered a valid 20        operable for performing online transactions; and
     password ;                                                   a user-interface coupled to the processor, and
  a device user interface reading a user swipe or gesture ;       wherein the wireless interface is operable to wirelessly
  a user tapping a predetermined sequence on the device ;            obtain card device payment account information , and
  a user motioning the device in accordance with a                wherein the processor is operable to generate limited -use
     sequence ;                                                25    payment information based on the card device payment
  a skin - contact sensing identifying a valid user;                 account information , and
  a device sensor array reading a touch of an identified user;    wherein the personal computing device is operable to
  a device biometric recognition of a valid user ; and               generate complete payment information, including the
  a biometric sensing of the device remaining continuously           limited -use payment information , and to convey said
     in the possession of a valid user,                        30    complete payment information via at least one interface
  wherein a display of the device is operable to display             of a set comprising: said display ; and the wireless
     transaction information through a user interface , and          interface , and
     wherein transaction information includes at least one of     wherein the limited -use payment information is config
     a set comprising: a transaction time; a transaction             ured to be used in place of a card issuer payment
     amount; transaction merchant information ; a transac- 35              information .
     tion location ; a transaction facility; card information ; a        12. The system of claim 11 , wherein the thin payment
    partial card number ; graphical card images , and         device bears no fixed payment numbers, and bears only: the
  wherein upon validating the user, the user-interface is cardholders name; a brand logo; and the card payment
     operable to receive a valid user input, of at least one network logo .
     user action selected from a set comprising : a payment 40 13. The system of claim 11 wherein the personal com
    approval authorization ; a payment denial; and an puting device is configured for presenting on the display a
    adjustment of a transaction payment.                      limited -use card security code number for use in payments
   9. The device of claim 1 , wherein a dynamically - gener in place of card issuer payment information , and
ated one- time limited -use payment information portion is         wherein the personal computing device is further config
generated by said processor when coupled to a reader 45               ured to generate said limited - use card security code
interface accessible to said processor, and                           responsive to an input request from a valid user , via
  wherein the payment information conveyed to a payment               said user -interface , and
      card reader, at the timeof transaction, includes at least    wherein said limited -use number is generated on the
     one of a portion of: a static limited -use portion ; and a       personal computing device from at least one informa
     dynamically -generated limited -use portion , and          50    tion from a set comprising:
  wherein said static limited -use payment information is           a payment device user information ;
     provided by a card issuing authority for use in place of      a payment device account number ;
     a card issuer payment information .                           a payment device sequence counter ;
   10. The device of claim 1, wherein the processor crypto         a payment device identifier;
graphically dynamically generates a one -time limited -use 55 payment device secrets;
number based on combination of a card device transaction           a payment device key ;
sequence count, and at least one of a set of information                 computing device secrets ;
including :                                                              computing device keys ;
  a user information ;                                                   payment device issuer secrets ;
  a user card account number;                                       60   payment device issuer keys ;
  a device account number ;                                              a time;
  device secret keys ;                                                   an expiration date ;
  card issuer keys ;                                                     an amount;
  a time;                                                                a merchant locality;
  a merchant;                                                       65   an online location ;
  a location ;                                                           a transaction information ; and
  an online address;                                                     a cryptographic combination of at least two of the above .
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                             23                                                                        24
   14. The system as described in claim 11 wherein the                   18. The system of claim 15 wherein the limited -use
personal computing device is configured for presenting on             payment information includes a static limited - use card
the display, a limited -use card account number, and a                account number, a limited -duration card expiration date, and
                                                                      a limited - use card security code and ,
limited -duration expiration date, for use in payments in 5 wherein the dynamically generated limited -use payment
place of a card issuer payment information , and                       information is conveyed by the computing device to
   wherein said personal computing device is further con               complete  an online transaction.
      figured to generate said limited -use card payment infor      19.  The system of claim 15 wherein the computing device
     mation responsive to an input request from a valid user , is operable to generate      a limited - use card security code
      and
                                                               10 number, for use in place of a card issuers card security code
   wherein the personal computing device is configured to by generating said limited -use number via cryptographically
      identify a valid device -user through at least one user combining information from at least one of a set comprising :
      validation input available to the personal computing          a user information ;
      device , of a set comprising:                                 an internet address ;
   a touch ID sensor operable to identify the touch a valid 15 ana device
                                                                        email address ;
                                                                              transaction sequence counter ;
     user;
  a user entering of a valid passcode on a touch sensor                 a device account number;
     array ;                                                            device identifiers;
  a user entering of a valid passcode on a key -pad ;                   device secrets ;
  a user entering of a valid PIN or Key -Code on the 20 device           issuer
                                                                                  keys ;
                                                                                 secrets   ;
     user-interface ;                                                    issuer keys;
  a user entering of a valid password on the user- interface ;           a payment card account number;
  a valid user swiping or gesturing on a touch sensor - array ;          a payment card security code;
  a valid sequence of a user tapping of the device detectable            a time;
     by device accelerometer ;                                      25   an expiration date ;
  a valid user sequence of user motioning of the device                  an  amount;
     detectable by device motion sensor unit ;                           a merchant locality ;
  a skin -contact sensing identifying a valid user on a device           a transaction information ;
     contact sensor;
  a touching of an identified user's skin on a device touch 30 andabove        a cryptographic combination of at least two of the
                                                                                     set, and wherein the computing device is oper
     sensor array ;                                                         able to display the generated limited -use card security
  a device biometric recognition of a valid user via a device               code on the display .
     biometric sensing ; and
  a biometric sensing of the device remaining continuously is 20.             The system of claim 15 wherein the computing device
                                                                          further operable to obtain a user payment approval
      in the-proximity
     skin      proximitysensor
                          possession   of a validtheuser
                              ; and , wherein            via device
                                                     personal com 35 device
                                                                       through, from
                                                                                 at leasta setonecomprising
                                                                                                 user-interface
                                                                                                            :
                                                                                                                elementofthe computing
     puting device conveys the limited -use payment infor                a display interface ,
    mation through the user interface .                                  a touch - screen interface ,
  15. An online payment system comprising :                              a touch ID button ,
  a thin card -shaped payment card device that bears no 40 input                buttons ,
     fixed payment numbers on the card device ; and                      a touch key - pad,
  a computing device operable for completing an online                   a key-pad ,
     payment transaction and comprising:                                 a key -board ,
  a display ;
  a user -interface ;                                            45
                                                                         an optical sensor array,
  a processor; and                                                      a motion detection unit,
  a memory for storing a payment card information acces                 an accelerometer,
       sible to the processor,                                          the swiping of a recognized user skin over a device sensor
  wherein card issuer provided payment card information is                 array, a biometric sensor,
      wirelessly downloaded into the computing device , and 50          a wireless interface ,
  wherein at least one of the set comprising:                           an NFC interface ,
      the computing device; and                                         an RF interface,
      the card -shaped payment device,                                  a device biometric sensing the device is continuously
   is configured to dynamically generate a limited -use pay                remaining in contact with a valid user ; and,
      ment information , upon the authorization of a valid 55           wherein the computing device is operable to display at
      computing device user, and                                           least one of a set comprising: the transaction informa
  wherein the payment information provided by the com                      tion, the merchant information, the time, the location of
      puting device is used in online transactions in place of             the transaction , the payment bank logo , the card issuer
      a card issuers payment card information .                            icon , the payment card image, and the amount, on a
   16. The system of claim 15 wherein the card device bears 60             display of the computing device, and ,
no fixed payment numbers, and bears only : the cardholders              a user input providing for at least one user action from a
name; the brand logo ; and the card payment network logo .                 set comprising : an approving of a transaction , a deny
   17. The system of claim 15 wherein the dynamically                      ing of a transaction , and an adjusting of a transaction ,
generated limited -use payment information is displayable on               via the user- interface .
a display of the computing device .
